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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TIANA HILL, individually and as         )
MOTHER and next friend of baby D.H. her )
minor child,                            )
                                        )
      Plaintiffs,                       )
                                        )         CIVIL ACTION FILE NO.:
v.                                      )         1:21-CV-05300-TWT
                                        )
CLAYTON COUNTY GEORGIA,                 )
CLAYTON COUNTY BOARD OF                 )
COMMISSIONERS, CLAYTON COUNTY )
SHERIFF VICTOR HILL in his official and )
individual capacities, CORRECTHEALTH )
CLAYTON LLC, DR. CHARLES                )
CLOPTON in his official and individual  )
capacities, JOHN DOES in their official )
and individual capacities,              )
                                        )
      Defendants.                       )
                                        )

     DEFENDANT SHERIFF VICTOR HILL’S MOTION TO DISMISS
     PLAINTIFF’S COMPLAINT AND MEMORANDUM OF LAW IN
                         SUPPORT

      COMES NOW Defendant Clayton County Sheriff Victor Hill in his official

and individual capacities (hereinafter “Sheriff Hill”), by and through the

undersigned counsel of record, and hereby files this motion to dismiss plaintiff’s

complaint (Doc. 1).
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      In support of this motion, Sheriff Hill shows that on January 25, 2022,

Defendants Clayton County, Clayton County Board of Commissioners, and Sheriff

Hill all filed a motion to dismiss plaintiff’s complaint, which has been fully briefed

and is ripe for a ruling. (Docs. 3, 3-1, 10, 10-1, and 12.) Sheriff Hill’s motion was

filed prior to plaintiffs perfecting service of process on him, as stated in footnote 1

of the memorandum of law in support of the motion.                (Doc. 3-1, fn. 1.)

Subsequent to the filing of the motion, Sheriff Hill agreed to waive service, and

plaintiff filed the waiver with the Court. (Doc. 19.) The clerk’s docket notice

provides a response due date for Sheriff Hill of March 21, 2022. (Id.) Although

Sheriff Hill has already filed a Rule 12(b) motion to dismiss the complaint on

January 25, 2022, in an abundance of caution, Sheriff Hill files the instant motion

and hereby incorporates as if fully stated herein his previously filed motion to

dismiss, memorandum of law in support, and reply brief in support and all

arguments and citations of authority therein. (Docs. 3, 3-1, and 12.)

      Therefore, for the reasons more fully set forth in Docs. 3, 3-1, and 12,

plaintiff’s claims against Sheriff Hill should be dismissed.

                                        FREEMAN MATHIS & GARY, LLP


                                        /s/ A. Ali Sabzevari
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                                        A. Ali Sabzevari


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                                  Attorneys for Defendants Clayton County,
                                  Clayton County Board of Commissioners,
                                  and Clayton County Sheriff Victor Hill




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANT SHERIFF VICTOR HILL’S MOTION TO DISMISS

PLAINTIFF’S COMPLAINT AND MEMORANDUM OF                                LAW IN

SUPPORT to the Clerk of Court using the CM/ECF system which will

automatically send electronic mail notification of such filing to counsel of record

who are CM/ECF participants:

                              Mitchell L. Albert III
                           Albert III & Associates LLC
                             3330 Cumberland Blvd.
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                               Atlanta, GA 30339
                           Mitchell.albert@aiiiaa.com

      This 18th day of March, 2022.

                                      FREEMAN MATHIS & GARY, LLP

                                      /s/ A. Ali Sabzevari
                                      A. Ali Sabzevari
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